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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Gail Bredemus, et al.,                                  Civil No. 06-1274 (DWF/RLE)

                     Plaintiffs,

v.                                                                MEMORANDUM
                                                             OPINION AND ORDER
International Paper Company; Burlington
Northern and Santa Fe Railway
Company; Dow Chemical Company; and
Pharmacia Corporation,

                     Defendants.



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International Paper Company.

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Stacy S. Jakobe, Esq., Jenner & Block LLP; James A. Sherer, Esq., and Lynn S. Looby,
Esq., The Dow Chemical Company; and Sarah L. Brew, Esq., Halleland Lewis Nilan &
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Sarah L. Brew, Esq., Halleland Lewis Nilan & Johnson PA; and George W. Flynn, Esq.,
Jennifer Flynn Rosemark, Esq., and Robert W. Vaccaro, Esq., Flynn Gaskins & Bennett,
LLP, counsel for Defendant Pharmacia Corporation.


                                   INTRODUCTION

       This matter is before the Court on a motion for partial summary judgment by

Defendant Burlington Northern and Santa Fe Railway Company (“BNSF”) and on a joint

motion for summary judgment by Defendants Dow Chemical Company and Pharmacia

Corporation. For the reasons stated below, the Court grants both motions.

                    FACTUAL AND PROCEDURAL BACKGROUND

       In their Second Amended Complaint, Plaintiffs allege a total of twenty-one counts

against the various Defendants (although not every count is directed at every Defendant).

(Doc. No. 249.) For present purposes, the Defendants can be grouped as follows:

(1) International Paper Company; (2) BNSF; and (3) Dow and Pharmacia. For purposes

of BNSF’s motion and Dow and Pharmacia’s joint motion, only the following counts are

relevant:

       Count I:     General Negligence (Personal Injury)
       Count III:   Minnesota Environmental Response and Liability Act (“MERLA”) Strict
                    Liability (Personal Injury)
       Count V:     Strict Liability (Personal Injury)
       Count VII    Product Liability (Personal Injury)
       Count VIII: Product Liability–PEN (Personal Injury)
       Count IX:    Breach of Warranty (Personal Injury)
       Count X:     Civil Battery (Personal Injury)
       Count XI:    Breach of Duty to Leaseholder (Personal Injury)
       Count XVIII: Negligence/Breach of Duty to Leaseholder (Property Damage)
       Count XVII: MERLA Strict Liability (Property Damage)

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       Count XIX:    Product Liability–PEN (Property Damage)
       Count XX:     Breach of Warranty (Property Damage)
       Count XXI:    Strict Liability (Property Damage)

(Doc. No. 249.)1

       Defendants Dow and Pharmacia move for summary judgment on each of the

counts directed against them, that is: Counts I, V, VII, VIII, IX, X, XIX, XX, & XXI.

(Doc. No. 366.) Defendant BNSF moves for summary judgment on almost all of the

counts directed against it, that is: Counts I, X, XI, & XVIII, and part of each of Counts

III & XVII. (Doc. No. 361.) Counts III and XVII, both of which allege strict liability

under MERLA, are each premised on two separate liability theories: (A) that BNSF was

the owner of land on which International Paper released hazardous materials (the

“landowner theory”); and (B) that BNSF itself sprayed the land with hazardous

substances (the “active polluting theory”). (Doc. No. 249 ¶¶ 47-55 & 127-34.) BNSF’s

motion does not seek summary judgment with respect to theory (A).

       Finally, BNSF filed a cross-claim against Dow and Pharmacia (as well as against

International Paper), alleging entitlement to indemnity and contribution from the other

Defendants should BNSF be held liable to Plaintiffs. (Doc. No. 4 (Count Three).)




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              Counts II, IV, VI, & XII-XVI are directed only against International Paper.
(Id.) They are not at issue here, because it has not moved for summary judgment.

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                                      DISCUSSION

I.     Summary Judgment Standard

       A party is entitled to summary judgment “if the pleadings, the discovery and

disclosure materials on file, and any affidavits show that there is no genuine issue as to

any material fact and that the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(c). Although the Court must view the evidence in the light most favorable to

the non-moving party, Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986), the

party bearing the burden of proof at trial may not rest on the pleadings but rather must

“designate specific facts showing that there is a genuine issue for trial,” Celotex Corp. v.

Catrett, 477 U.S. 317, 324 (1986).

II.    Dow and Pharmacia’s Motion

       Based on the parties’ briefing and oral arguments, there is no dispute that Dow and

Pharmacia are entitled to judgment on each of the counts of Plaintiffs’ Complaint directed

against them. In sum, they are entitled to judgment on Counts I, V, VII, VIII, IX, X, XIX,

XX and XXI.

III.   BNSF’s Motion

       Based on the parties’ briefing and oral arguments, there is no dispute that BNSF is

entitled to judgment on each of the counts of Plaintiffs’ Complaint on which it seeks

summary judgment. BNSF moved for summary judgment with respect to each of the

counts directed against it except for the landowner theory of liability of Counts III and



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XVII. In sum, BNSF is entitled to judgment on Counts I, X, XI, XVIII, and the active

polluting theory component of Counts III and XVII.

IV.    BNSF’s Cross-Claim

       Finally, Dow and Pharmacia contend that now that judgment has been granted to

them on Plaintiffs’ claims against them, they are also entitled to judgment on BNSF’s

cross-claim against them for indemnity and contribution, as it is entirely derivative of

Plaintiffs’ claims against BNSF. (Doc. No. 376 at 3.) But Dow and Pharmacia have not

formally moved for such relief, having raised this issue for the first time in their Reply

Memorandum. The Court will entertain a properly-filed motion for summary judgment

contending that while BNSF remains potentially liable on the landowner theory of

liability of Counts III and XVII, any such recovery by Plaintiffs under MERLA could not

support a contribution or indemnity claim by BNSF against Dow and Pharmacia now that

they have been granted judgment on all of the Plaintiffs’ claims against them.

                                      CONCLUSION

       The moving Defendants are entitled to the summary judgments they have

requested: (1) Dow and Pharmacia are entitled to judgment on all of Plaintiffs’ claims

against them; and (2) BNSF is entitled to judgment on all of Plaintiffs’ claims against it

except for those parts of Counts III and XVII premised on it being an owner of land on

which International Paper allegedly released hazardous materials.




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      Based on the grant of summary judgment to Dow and Pharmacia, the Court will

entertain a properly filed motion by Dow and Pharmacia with respect to BNSF’s

derivative cross-claim against them.

      Based on the foregoing, and all the files, records and proceedings herein, IT IS

HEREBY ORDERED that:

      1.     Defendants Dow and Pharmacia’s Joint Motion for Summary Judgment

(Doc. No. 366) is GRANTED; and

      2.     Defendant BNSF’s Motion for Partial Summary Judgment (Doc. No. 361)

is GRANTED.

Dated: September 24, 2009                s/Donovan W. Frank
                                         DONOVAN W. FRANK
                                         United States District Judge




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